      Case: 22-2839   Document: 47    Page: 1   Date Filed: 08/21/2023




                              No. 22-2839
      In the United States Court of Appeals
              for the Third Circuit
              —————————————————————
                    ROBERT WHARTON,
                                                              Petitioner,
                                     v.
                 SUPERINTENDENT GRATERFORD SCI,
                                                           Respondent.
            THE PHILADELPHIA DISTRICT ATTORNEY’S OFFICE,
                 PAUL GEORGE, and NANCY WINKELMAN,
                                                            Appellants.
               —————————————————————
       On Appeal from the Order Entered on September 12, 2022,
   in the U.S. District Court for the Eastern District of Pennsylvania,
                   Civil Action No. 2:01-cv-06049-MSG
               —————————————————————
   BRIEF OF LISA NEWMAN, PATRICE CARR, AND DR. DAVID “TONY”
      ANTONY HART AS AMICI CURIAE SUPPORTING AFFIRMANCE
               —————————————————————
Paul G. Cassell                            Allyson N. Ho
UTAH APPELLATE PROJECT                     Bradley G. Hubbard
S.J. QUINNEY COLLEGE OF LAW                Matthew Scorcio
 AT THE UNIVERSITY OF UTAH                 Stephen J. Hammer
383 South University Street                GIBSON, DUNN & CRUTCHER LLP
Salt Lake City, Utah 84112                 2001 Ross Avenue, Suite 2100
Telephone: (801) 585-5202                  Dallas, Texas 75201
                                           Telephone: (214) 698-3100
Meg Garvin
NATIONAL CRIME VICTIM                      M. Christian Talley
 LAW INSTITUTE                             Joshua R. Zuckerman
1130 SW Morrison Street,                   GIBSON, DUNN & CRUTCHER LLP
  Suite 240                                1050 Connecticut Avenue, N.W.
Portland, Oregon 97205                     Washington, D.C. 20036
Telephone: (503) 768-6953                  Telephone: (202) 955-8500
                      COUNSEL FOR AMICI CURIAE
             Case: 22-2839        Document: 47          Page: 2        Date Filed: 08/21/2023




                                       TABLE OF CONTENTS

                                                                                                         Page

Table of Authorities ................................................................................... ii
Interest of Amici Curiae ............................................................................ 1
Introduction ............................................................................................... 2
Background ................................................................................................ 5
Argument ................................................................................................. 14
        I.       Federal and state law requires prosecutors and courts to
                 honor crime victims’ rights to be heard and treated with
                 respect. ................................................................................... 16
        II.      In the context of federal and state victims’ rights, the
                 DA’s office’s representation was plainly misleading. .......... 19
                 A.      The DA’s office’s statement must be evaluated in
                         context. ......................................................................... 19
                 B.      In context, the DA’s office’s statement falsely
                         implied that the victims’ family supported the
                         concession. .................................................................... 21
                         1.       The DA’s office’s only “communication” with
                                  the family was a vague call to Lisa’s uncle. ...... 22
                         2.       The victims’ family is adamantly opposed to
                                  the DA’s office’s attempted concession. ............. 24
Conclusion ................................................................................................ 28
Combined Certifications .......................................................................... 30




                                                       i
           Case: 22-2839         Document: 47         Page: 3       Date Filed: 08/21/2023




                                    TABLE OF AUTHORITIES

                                                                                                 Page(s)
                                                 Cases
Commonwealth v. Wharton,
  607 A.2d 710 (Pa. 1992) (Wharton I) ..................................... 5, 6, 7, 8, 9
Commonwealth v. Wharton,
  665 A.2d 458 (Pa. 1995) (Wharton II) ................................................. 10
Commonwealth v. Wharton,
  811 A.2d (Pa. 2002) (Wharton III) ....................................................... 10
Commonwealth v. Wharton,
  886 A.2d 1120 (Pa. 2005) (Wharton IV) .................................. 6, 7, 8, 10
Kenna v. U.S. Dist. Ct. for C.D. Cal.,
  435 F.3d 1011 (9th Cir. 2006) .............................................................. 16
In re Taylor,
   655 F.3d 274 (3d Cir. 2011) ................................................................. 21
United States v. Degenhardt,
  405 F. Supp. 2d 1341 (D. Utah 2005) .................................................. 16
United States v. Stevens,
  239 F. Supp. 3d 417 (D. Conn. 2017)................................................... 18
Universal Health Servs., Inc. v. U.S. ex rel. Escobar,
  579 U.S. 176 (2016) .............................................................................. 20
Wharton v. Vaughn,
  2012 WL 3535868 (E.D. Pa. Aug. 16, 2012) ........................................ 10
Wharton v. Vaughn,
  722 F. App’x 268 (3d Cir. 2018) ........................................................... 10
                                       Statutes & Rules
18 U.S.C. § 3771...................................................................... 17, 19, 26, 28
18 Pa. Stat. § 11.201 ........................................................................... 18, 19
18 Pa. Stat. § 11.213 ........................................................................... 18, 19
Fed. R. App. P. 29 ....................................................................................... 1



                                                    ii
           Case: 22-2839          Document: 47          Page: 4        Date Filed: 08/21/2023




                                     TABLE OF AUTHORITIES
                                          (continued)

                                                                                                     Page(s)

                                        Other Authorities
150 Cong. Rec. 7294 (2004) .................................................... 16, 17, 27, 28
Hon. Jon Kyl et al.,
  On the Wings of Their Angels: The Scott Campbell,
  Stephanie Roper, Wendy Preston, Louarna Gillis, and
  Nila Lynn Crime Victims’ Rights Act, 9 Lewis & Clark L.
  Rev. 581 (2005) ..................................................................................... 16
Julie Shaw,
  35 Years After Her Parents’ Murders, City and State
  Prosecutors Fight over Death-Row Inmate’s Appeal, The
  Philadelphia Inquirer (Sept. 7, 2019) ................................................... 1
Lisa Hart,
   Krasner Ignores Victims and Sides with Murderers—
   Including My Parents’ Killer, Broad + Liberty (Sept. 27,
   2022) ..................................................................................................... 13
Restatement (Second) of Contracts (Am. Law. Inst. 1981) .................... 20
W. Page Keeton et al.,
  Prosser & Keeton on the Law of Torts (5th ed. 1984) ......................... 20




                                                      iii
       Case: 22-2839   Document: 47   Page: 5   Date Filed: 08/21/2023




                       INTEREST OF AMICI CURIAE*
     Lisa Newman is the daughter of Bradley and Ferne Hart, who were

murdered by Robert Wharton in 1984. Wharton left then seven-month-

old Lisa to freeze to death after murdering her parents. Patrice Carr is

Bradley’s sister, and Dr. David “Tony” Hart is his brother. These family

members each have an interest in this case and come together as amici

based on their mutual desire to see justice carried out for themselves and

their loved ones, attain some semblance of closure, and ensure that victims

of crime are treated with fairness and respect in criminal proceedings.




                   Bradley, Ferne, and Lisa in 1983.1
 *
   This brief was not authored in whole or in part by counsel for any
party. No party, party’s counsel, or person—other than amici or their
counsel—contributed money that was intended to fund preparing or
submitting this brief. Fed. R. App. P. 29(a)(4)(E).
 1
  Julie Shaw, 35 Years After Her Parents’ Murders, City and State
Prosecutors Fight over Death-Row Inmate’s Appeal, The Philadelphia
Inquirer (Sept. 7, 2019), bit.ly/3QOydnh.

                                      1
       Case: 22-2839   Document: 47   Page: 6   Date Filed: 08/21/2023




                             INTRODUCTION

     In January 1984, Robert Wharton and his accomplice brutally

murdered Bradley and Ferne Hart in their home and left their then-

seven-month-old baby daughter, Lisa, to die—the horrific climax of a

months-long campaign of terror against the family.           After Wharton

strangled and drowned Ferne in a bathtub and his accomplice stomped

and strangled Bradley in the basement, Wharton sadistically shut off the

home’s heat in the dead of winter, leaving baby Lisa to freeze and starve.

Miraculously, she survived—discovered three days later among the

carnage when Bradley’s father visited the home and heard her cries.

     A jury found Wharton guilty of two counts of first-degree murder in

1985 and returned two death sentences. After a reviewing court vacated

his sentences on a technicality, a second jury again determined that he

should be sentenced to death in 1992.

     For nearly forty years, Lisa and her family have awaited justice.

That agonizing delay has only “intensifie[d]” their grief. ECF 252, at

94:13–14. Wharton, however, has dragged out the proceedings at every

step, filing numerous baseless claims for post-conviction relief in state

and federal court. His sole remaining claim, which he brought on federal


                                      2
       Case: 22-2839   Document: 47   Page: 7   Date Filed: 08/21/2023




habeas, is that his lawyer at his 1992 penalty hearing was ineffective

because he failed to present “mitigation evidence” of Wharton’s “positive

adjustment” to prison.2

     The interminable delay in holding Wharton accountable for his

crimes has been agonizing enough for Lisa and her family. But the

actions of the Philadelphia District Attorney’s Office have only

compounded their suffering. Despite “zealously oppos[ing]” Wharton’s

efforts to “overturn his conviction and death sentence” for over “three

decades,” the DA’s office, with “no explanation,” suddenly announced that

“it would no longer contest the only remaining penalty-phase claim.”

A100. The DA’s office then led the district court to believe that the Hart

family supported this about-face—representing to the court that the DA’s

office decided to concede Wharton’s claim only “[f]ollowing . . .

communication with the victims’ family.” A95.

     That statement was deeply misleading. As the district court found,

“the only communication was to inform a single family member that the

DA’s office was considering conceding. None of the family members



 2
   The district court denied Wharton’s habeas claim. A31–32. An appeal
is pending before this Court as case number 22-9001.


                                      3
        Case: 22-2839   Document: 47   Page: 8   Date Filed: 08/21/2023




supported the decision to concede, and several expressed shock and

indignation that the District Attorney’s Office had suggested otherwise.”

A66 (emphasis added). Lisa—the only member of her immediate family

who survived Wharton’s rampage that day—was “confused,” “hurt,”

“outraged,” and “had no idea what was going on.” ECF 252, at 90:7–11

(capitalization altered).     Bradley’s sister, Patrice Carr, found it

“unbearably painful and shocking” to learn that the concession was “even

a consideration.” SA53. And Bradley’s brother, Dr. Tony Hart, was

“taken [a]back” when he learned the truth.         ECF 267, at 160:9–15.

Contrary to what the DA’s office led the district court to believe, the

family “is in one accord in asking . . . that the District Attorney do all he

can to maintain the death penalty in this case.” SA158.

     In response to that shocking misrepresentation—which impeded

the district’s court ability to comply with its own statutory obligation to

ensure (among other things) that crime victims are afforded their rights,

including to be treated with dignity and respect—the court imposed the

mildest of sanctions. It simply—but importantly—ordered the district

attorney to apologize to the family in writing, and the DA’s office to

present “a full, balanced explanation of facts” in future habeas


                                       4
          Case: 22-2839   Document: 47   Page: 9   Date Filed: 08/21/2023




proceedings. A69. Those sanctions were the bare minimum to ensure

that the victims’ statutory rights weren’t reduced to mere paper

promises. Yet the DA’s office has appealed the court’s order and contends

that it discharged its legal and ethical obligations all along. This Court

should affirm the district court’s sanctions order and, in so doing,

acknowledge the harm inflicted by the DA’s office on a family that has

already suffered far more than enough.

                                 BACKGROUND

     1.      In the summer of 1983, Bradley and Ferne Hart hired a

general contractor for repair and construction work at their home and at

a radio station owned by Bradley’s father. As the station’s business

manager, Bradley oversaw the construction project.               Wharton was

employed by the contractor and performed the construction work along

with the contractor’s son, Larue Owens. Dissatisfied with the quality of

Wharton’s work, Bradley didn’t pay the contractor in full. The contractor,

in turn, refused to pay Wharton. Commonwealth v. Wharton, 607 A.2d

710, 713 (Pa. 1992) (Wharton I).

     Incensed, Wharton and Owens waged a campaign of terror against

the Hart family. On August 14, 1983, Wharton and Owens burglarized


                                         5
       Case: 22-2839   Document: 47   Page: 10   Date Filed: 08/21/2023




the Harts’ home while the family was at church. On August 22, Wharton,

Owens, and an accomplice named Eric Mason again burglarized the

Harts’ home:    “This time they also vandalized the Harts’ home by

slashing furniture; ransacking closets; mutilating family photographs;

pouring different liquids such as bleach, paint, and oil throughout the

house; and, defecating and urinating on the floors.” Commonwealth v.

Wharton, 886 A.2d 1120, 1121 (Pa. 2005) (Wharton IV).

     “Human excrement was also left in the house, the heat had been set

at 90 degrees, and the stench of urine filled the air. Additionally, the

faces of Bradley, Ferne and Lisa . . . had been completely blotted-out by

yellow paint on family photographs.”        Wharton I, 607 A.2d at 713.

Wharton, Owens, and Mason “caused damage in excess of $3,000” and

stole “televisions, stereo equipment, cameras and accessories, telephones,

and numerous other appliances and electronic items.” Id.

     Wharton and his accomplices next decided to target the Harts’ place

of worship. On September 4, 1983, they burglarized the Germantown

Christian Academy Church, founded by Bradley’s father, and where

Bradley served as a deacon. They stole a computer and cash and pinned




                                      6
          Case: 22-2839   Document: 47   Page: 11   Date Filed: 08/21/2023




a photo of Bradley to the wall with a letter opener. Wharton I, 607 A.2d

at 713.

     On January 30, 1984, Wharton and Mason—who had been

arrested, released, and indicted for burglarizing the Harts’ church—

returned to the Harts’ home, armed with a knife. Bradley, Ferne, and

seven-month-old Lisa were all inside. Wharton and Mason “forced their

way in at knifepoint” and “coerced Bradley Hart into writing [Wharton]

a check for nine hundred and thirty four dollars as settlement for the

debt that [Wharton] felt was owed to him.” Wharton IV, 886 A.2d at 1121.

They tied up Bradley and Ferne and “watched television” while settling

the couple’s fate. Id.

     After “several hours,” Wharton and Mason decided to separate the

couple. Wharton IV, 886 A.2d at 1121. Wharton took Ferne “upstairs

where he bound her hands and legs; covered her eyes, nose, and mouth

with duct tape; strangled her with a necktie; and ultimately drowned her

in a bathtub.” Id. Wharton left Ferne’s lifeless body “draped over the

bathtub, her sweat pants pulled down around her legs and her shirt

pulled up, exposing her breasts.” Wharton I, 607 A.2d at 714.




                                         7
       Case: 22-2839   Document: 47   Page: 12   Date Filed: 08/21/2023




     Mason, meanwhile, took Bradley “to the basement where Mason

forced [him] to lie with his face in a pan of water; placed his foot on [his]

back; and strangled him to death with an electrical cord.” Wharton IV,

886 A.2d at 1121. Wharton and Mason then stole Bradley’s coat, camera,

and camera bag, “extinguished the back light [and] locked the door.”

Wharton I, 607 A.2d at 135.

     But Wharton and Mason weren’t done yet. Before fleeing, Wharton

and Mason turned off the heat—in January in Germantown—leaving

baby Lisa to fend for herself on a bed in an upstairs bedroom. Wharton

I, 607 A.2d at 714.

     The temperature in the house dropped to fifty degrees. Baby Lisa

was left to suffer alone in the house for three days, and nearly died of

hypothermia. She was saved when Bradley’s father came to check on the

family, heard her cries, and forced his way into the home. Wharton I, 607

A.2d at 714. He rushed baby Lisa back to his family, who frantically

“tried to warm her up and get her out of her wet/soiled clothes.” SA156.

Lisa “was taken to a local hospital in a ‘preshock’ state, suffering from

dehydration and hypothermia. She also suffered respiratory arrest on

the way to the hospital.” Wharton I, 607 A.2d at 714. Despite having


                                      8
       Case: 22-2839   Document: 47   Page: 13   Date Filed: 08/21/2023




been left alone freezing and starving for three days, the now-orphaned

Lisa somehow survived.

     2.    For his depraved acts against the Harts, Wharton was

arrested and charged with two counts of first-degree murder, criminal

conspiracy, robbery, and burglary. A jury found Wharton guilty and

returned two death sentences. Wharton I, 607 A.2d at 715.

     While incarcerated, Wharton attempted to escape on multiple

occasions. One time, he assaulted a sheriff’s deputy in the process. SA22.

In 1989, Wharton was twice caught with contraband implements of

escape. SA18–19. In 1991, prison officials concluded that Wharton’s

“areas of concerns” included “Assaultiveness” and “Escape.” SA17.

     In 1992, the Pennsylvania Supreme Court affirmed Wharton’s

murder convictions, holding that the evidence against him was

“overwhelming[ ]” and that his arguments were “meritless,” “frivolous,”

and “absurd.” Wharton I, 607 A.2d at 718, 722. But it vacated his

sentences—based on an error in a penalty-phase jury instruction about

whether Wharton had committed the murders “by means of torture”—

and remanded for a new penalty-phase hearing.            Id. at 723.      After

reweighing the evidence, a second jury again decided that Wharton


                                      9
       Case: 22-2839   Document: 47   Page: 14   Date Filed: 08/21/2023




should be sentenced to death, A5–6, and the Pennsylvania Supreme

Court affirmed that sentence on appeal. Commonwealth v. Wharton, 665

A.2d 458 (Pa. 1995) (Wharton II).

     In the intervening decades, Wharton has made repeated bids for

post-conviction relief—almost all of which courts have rejected. In 2002,

the Pennsylvania Supreme Court determined that Wharton’s arguments

for state post-conviction relief were “waived,” “procedurally barred,” and

“unquestionably . . . meritless.” Commonwealth v. Wharton, 811 A.2d at

983, 989–90 (Pa. 2002) (Wharton III). The Pennsylvania Supreme Court

rejected as untimely his second attempt at state post-conviction relief in

2005. Wharton IV, 886 A.2d 1120, 1127 (Pa. 2005).

     Wharton also filed 23 federal habeas claims, which the district

court comprehensively rejected in 2012. See Wharton v. Vaughn, 2012

WL 3535868, at *1 (E.D. Pa. Aug. 16, 2012). This Court subsequently

affirmed as to every claim but one—that Wharton’s counsel at the 1992

penalty-phase hearing failed to present evidence supposedly establishing

that Wharton had positively adjusted to prison—and remanded so the

district court could evaluate this sole remaining claim.         Wharton v.

Vaughn, 722 F. App’x 268, 284 (3d Cir. 2018).


                                      10
        Case: 22-2839   Document: 47   Page: 15   Date Filed: 08/21/2023




       3.   The misconduct at the heart of this appeal took place during

that remand. After vigorously defending Wharton’s death sentences for

over thirty years, the DA’s office suddenly (and inexplicably) did an

about-face and decided that it would concede that Wharton’s former

counsel had been ineffective, support vacating the death sentences, and

agree not to “seek new death sentences.” A7–8.

       The DA’s office represented to the district court that its decision

had been made “[f]ollowing . . . communication with the victims’ family.”

A95.    As the court later explained, that representation created the

“unmistakable impression . . . that the victims’ family had agreed with

the District Attorney’s change of position. But this was not the case.”

A38. In reality, the DA’s office had reached out only to Dr. Tony Hart—

not Lisa, Patrice, or any other family member—and only then to tell him

that the DA’s office was considering its position on Wharton’s petition.

ECF 267, at 145:21–25; id. at 205:12–16.

       After the truth came to light, the district court determined that the

DA’s office and two of its supervisors had misrepresented the facts and

failed to show candor to the court in violation of their ethical obligations

and Rule 11.     Yet the court’s sanction was exceedingly modest and


                                       11
         Case: 22-2839   Document: 47   Page: 16   Date Filed: 08/21/2023




narrowly tailored to ameliorate the effects of the misrepresentation and

to vindicate the rights of the victims. The court “decline[d] to impose any

monetary or non-monetary sanctions” on the supervisors other than the

admonition contained in its opinion. A68. It required only that (1) the

district attorney personally send a written apology to the family

members, and (2) the DA’s office present “a full, balanced explanation of

facts” about whether relief should be granted in future habeas cases.

A69.

       Although the district attorney sent written apologies to the family,

A397–400, the DA’s office and the sanctioned supervisors nevertheless

decided to appeal the sanctions order, insisting to the family and this

Court that they “acted within their professional and ethical duties.”

A400.3

       4.    This saga is only the latest chapter in the Hart family’s

continued victimization. In letters and testimony below, members of the




 3
   Although the DA’s office’s position in this appeal calls into question
the sincerity of the district attorney’s apology letters, amici presume that
the DA’s office is not now seeking to rescind those letters.


                                        12
       Case: 22-2839   Document: 47   Page: 17   Date Filed: 08/21/2023




family laid bare the pain they’ve been forced to endure over the past four

decades.

     Lisa is “the sole survivor of this tragedy” and is “alive despite

[Wharton’s] efforts.” SA154. “Every day” she must “live with the effects

of that horrific night.” SA154. And “[e]ach milestone of [her] life, every

occasion that is to be celebrated, is colored with the heartbreak of [her]

parents not being here to share in it.” SA154. In Lisa’s own words:

     The loss of my parents forever changed my life. My world was
     destroyed. And though it has been rebuilt over the decades,
     the faults in the foundation still remain. Is it safe to trust
     anyone? Are they just going to leave me too? Am I safe? Will
     the night terrors, the darkness of anxiety and depression ever
     end? Can I protect my own daughter?

Lisa Hart, Krasner Ignores Victims and Sides with Murderers—

Including My Parents’ Killer, Broad + Liberty (Sept. 27, 2022),

bit.ly/3qJJpa0.

     Bradley was his sister Patrice’s “best [friend] from birth to the day

he died.” SA156. They “played together, laughed together, vacationed

together, sang together, celebrated life together. [They] loved each other

very much.” SA156. That is, until Wharton and Mason—“these monsters

of men”—murdered Bradley. ECF 252, at 136:21. Patrice “can’t put into

words how much [she] miss[es]” Bradley. SA156. Their “parents never

                                      13
       Case: 22-2839   Document: 47   Page: 18   Date Filed: 08/21/2023




really got over this horrific experience,” and their father—who found

Bradley and Ferne’s bodies and rescued Lisa from certain death—

“suffered from nightmares and depression” for “the rest of his life.”

SA157.

     Ferne’s brother Michael Allen (who has since passed away) was

similarly devastated by Wharton’s “cold hearted killing of” Ferne, who

was “as delicate as the plant from which her name is borrowed.” SA155.

For Michael, Wharton’s successful prosecution “inject[ed] back into life a

measure of sanity and confidence” in light of Wharton’s “diabolical

nature.” SA155.

     These victims and their interests should have been front of mind,

yet they were treated as an afterthought at every stage—until the district

court caught on and exposed what had happened. The district court’s

sanctions order is exceedingly modest. Yet it represents an important

step in vindicating the victims’ rights in this case and should be affirmed.

                               ARGUMENT

     When the district court evaluated the DA’s office’s representation

that it decided to concede error in Wharton’s death sentences only

“[f]ollowing . . . communication with the victims’ family,” A95, the court


                                      14
       Case: 22-2839   Document: 47   Page: 19   Date Filed: 08/21/2023




didn’t proceed in a vacuum. It did so in the context of federal and state

laws that afford crime victims fundamental rights designed to make them

meaningful participants in the criminal justice process—specifically the

rights to be heard and treated with fairness and respect. Against that

backdrop, the district court reasonably understood the statement to

imply that the DA’s office had explained its decision to the victims’ family

and that the family supported (or at least didn’t oppose) that decision.

     But that was a false impression, because the family is and always

has been adamantly opposed to anything short of carrying out the

sentences imposed for Wharton’s vicious crimes. As the district court

accurately determined, the DA’s office’s misrepresentation impeded the

court’s ability to “ensure that the victims were provided their statutory

rights.” A68. That misrepresentation also increased the suffering of a

family that has already suffered more than enough. The mild sanctions

the district court imposed are amply justified and should be affirmed if

the rights afforded victims are to have any modicum of meaning.




                                      15
       Case: 22-2839   Document: 47   Page: 20   Date Filed: 08/21/2023




I.   Federal and state law requires prosecutors and courts to
     honor crime victims’ rights to be heard and treated with
     respect.

     Enacted by Congress in 2004, the landmark Crime Victims’ Rights

Act “is the most sweeping federal victims’ rights law in the history of the

nation.” Hon. Jon Kyl et al., On the Wings of Their Angels: The Scott

Campbell, Stephanie Roper, Wendy Preston, Louarna Gillis, and Nila

Lynn Crime Victims’ Rights Act, 9 Lewis & Clark L. Rev. 581, 583 (2005).

As part of a decades-long “civil rights movement” “to end the unjust

treatment of crime victims by reforming the culture of the criminal

justice system,” the Act “establishes substantive and procedural” rights

for crime victims to help ensure that they are treated with respect and

dignity. Id.

     Congress designed the Act “to be a ‘broad and encompassing’

statutory victims’ bill of rights,” United States v. Degenhardt, 405 F.

Supp. 2d 1341, 1343 (D. Utah 2005) (quoting 150 Cong. Rec. 7294, 7295

(2004) (Sen. Feinstein)), with the aim of “making victims independent

participants in the criminal justice process.” Kenna v. U.S. Dist. Ct. for

C.D. Cal., 435 F.3d 1011, 1013 (9th Cir. 2006). Concerned that the justice

system treated crime victims “as non-participants in a critical event in



                                      16
          Case: 22-2839   Document: 47   Page: 21   Date Filed: 08/21/2023




their lives,” 150 Cong. Rec. at 7296 (Sen. Feinstein), Congress gave crime

victims the right “to participate in the process where the information that

victims and their families can provide may be material and relevant.” Id.

      Four provisions of the Act are particularly relevant here. In federal

habeas proceedings arising from state convictions, crime victims—

including      “family    member[s]”     of   murder    victims,    18       U.S.C.

§ 3771(b)(2)(D)—are expressly guaranteed multiple rights, including the

rights:

           “not to be excluded from any . . . public court proceeding”
            except under limited circumstances;

           “to be reasonably heard at any public proceeding in the
            district court involving release, plea, sentencing, or any
            parole proceeding”;

           “to proceedings free from unreasonable delay”; and

           “to be treated with fairness and with respect for the
            victim’s dignity and privacy.”

18 U.S.C. § 3771(a)(3), (4), (7), (8).

      The Act charges the district court with “ensur[ing] that the crime

victim is afforded” these rights. 18 U.S.C. § 3771(b)(1). The statute

thereby “imposes no less than an affirmative obligation on judges to




                                         17
         Case: 22-2839   Document: 47   Page: 22   Date Filed: 08/21/2023




ensure that the victim’s rights are respected.” United States v. Stevens,

239 F. Supp. 3d 417, 420 (D. Conn. 2017).

     In addition, Pennsylvania’s Crime Victims Act provides victims of

crime with “analogous rights under state law.” SA50 (Amicus Br. of

Pennsylvania Office of Attorney General). Among other protections, the

Pennsylvania Act affords crime victims the rights to:

          “have [the] opportunity to offer prior comment on the
           sentencing of a defendant”;

          submit “a written and oral victim impact statement
           detailing the physical, psychological and economic effects
           of the crime on the victim and the victim’s family”; and

          have their victim-impact statements “considered by a
           court when determining the . . . sentence of an adult.”

18 Pa. Stat. § 11.201(5). Pennsylvania law also imposes “complementary

duties” on prosecutors “to ensure that the victims’ rights are honored.”

SA51 (Amicus Br. of Pennsylvania Office of Attorney General).

Pennsylvania prosecutors, including the DA’s office, must “make

reasonable efforts to notify a victim” about dispositional proceedings for

personal injury crimes and must provide victims with notice of “sentence

modifications” upon the victim’s request. 18 Pa. Stat. § 11.213(e), (f)(1).




                                        18
         Case: 22-2839   Document: 47   Page: 23   Date Filed: 08/21/2023




        So when the DA’s office informed the district court that it made its

concession “[f]ollowing . . . communication with the victims’ family,” A95,

it did so aware that the district court would view that statement in the

light not only of the prosecutors’ responsibility to notify and consult with

the victims, 18 Pa. Stat. §§ 11.201(5), 11.213(e)–(f), but also of the court’s

own duty to ensure the family’s “right to be treated with fairness and

with respect” during the criminal proceedings. 18 U.S.C. § 3771(a)(8); see

A10 (district court understood the prosecutor’s statement in light of its

“statutory obligation . . . to afford victims an opportunity to be heard

where sentencing or release is involved”).

II.     In the context of federal and state victims’ rights, the DA’s
        office’s representation was plainly misleading.

        A.   The DA’s office’s statement must be evaluated in
             context.

        The DA’s office’s only defense is that its words were technically

true.    After all, the DA’s office argues (at 47), it said only that it

communicated with the victims’ family—not that the family in any way

supported its decision. Whether the district court chose to read that

inference into the statement, the DA’s office maintains, isn’t its




                                        19
       Case: 22-2839   Document: 47   Page: 24   Date Filed: 08/21/2023




responsibility. But that isn’t how truthfulness is evaluated—by courts or

anyone else. In law, as in life, context matters.

     That’s why “half-truths—representations that state the truth only

so far as it goes, while omitting critical qualifying information—can be

actionable misrepresentations.” Universal Health Servs., Inc. v. U.S. ex

rel. Escobar, 579 U.S. 176, 188 (2016). A party making a contract, for

example, “may not, of course, tell half-truths”—and “his assertion of only

some of the facts without the inclusion of such additional matters as he

knows or believes to be necessary to prevent it from being misleading is

itself a misrepresentation.” Restatement (Second) of Contracts § 161

cmt. a (Am. Law. Inst. 1981). The same goes for tort law, where it is

“obvious” that when a person “speak[s], he must disclose enough to

prevent his words from being misleading.” W. Page Keeton et al., Prosser

& Keeton on the Law of Torts § 106, p. 738 (5th ed. 1984).

     This deeply rooted legal principle reflects everyday experience.

Imagine a teen telling his mother, “I’m taking the family car for a drive.

I already talked to Dad about it.”         The mother would undoubtedly

understand her son to mean that, when he spoke to his father, his father

had approved the trip—else why mention the fact? If it turned out that


                                      20
         Case: 22-2839   Document: 47   Page: 25   Date Filed: 08/21/2023




the teen’s father had actually forbidden him from taking the car, his

mother wouldn’t likely be satisfied by a plea that her son’s statement was

literally true.

      In short, the relevant question isn’t whether the DA’s office’s

statement was literally true in the narrowest, technical sense. As this

Court has recognized, representations that are “actually misleading” are

a proper basis for sanctions, regardless of whether they are “literally

true.”     In re Taylor, 655 F.3d 274, 283 (3d Cir. 2011) (discussing

bankruptcy equivalent of Rule 11). The question is whether, in the

overall context in which the statement was made, the district court would

have been left with a misimpression about the information being

conveyed by the prosecutors’ representation that their decision to concede

relief “[f]ollow[ed] . . . communication with the victims’ family.” The

answer to that question can only be yes.

      B.     In context, the DA’s office’s statement falsely implied
             that the victims’ family supported the concession.

      The DA’s office made no attempt to contact Lisa—the only victim

who survived Wharton’s attack on her immediate family. And it never

explained to the one family member it did contact the magnitude of its

decision—which involved not only vacating Wharton’s death sentences,

                                        21
          Case: 22-2839   Document: 47   Page: 26   Date Filed: 08/21/2023




but also forgoing the opportunity to “seek new death sentences” in the

future.

     The DA’s office then misled the district court into believing the Hart

family affirmatively supported the proposed concession. Upon learning

the truth, Lisa, Patrice, and Tony were united in their strenuous

opposition to the concession. Setting aside the prosecutors’ post hoc

justifications for their behavior, a simple review of the facts makes plain

what really happened here.

              1.    The DA’s office’s only “communication” with the
                    family was a vague call to Lisa’s uncle.

     The DA’s office and its victim coordinator, Heather Wames, admit

they never contacted Lisa. ECF 267, at 201:13–16. Wames “didn’t call

her on the phone.” Id. at 201:17–19. She “didn’t write [Lisa a] letter.”

Id. She didn’t even “send her an email.” Id. She didn’t do any of that,

even though she knew about Lisa, knew she was “a grown woman now,”

and of course realized that Lisa would be keenly interested in

developments concerning the punishment of the man who brutally

murdered her parents and left her to die—particularly when those

developments involve ensuring that the jury’s sentence would never be

carried out. Id. at 201:13–202:12. Wames never contacted surviving

                                         22
       Case: 22-2839   Document: 47   Page: 27   Date Filed: 08/21/2023




siblings of Bradley and Ferne, either—despite her knowledge of those

survivors, too. Id. at 205:12–16.

     Wames instead attempted to outsource her obligations to Lisa’s

uncle, Tony.    She “relied solely” on him to convey all the critical

information about the decision to concede. ECF 267, at 202:13–16. But

that reliance was patently unreasonable under the circumstances.

Wames had never spoken to Tony before in her life, and she admittedly

had no idea “about the extent of his communications or contacts” with

Lisa. Id. at 202:17–23, 203:3–5.

     She also had no reason to think Tony was somehow serving as a

family “spokesperson,” id. at 203:11–23, and had no recollection of

whether she ever asked Tony if he had passed information along to the

other family members. Id. at 204:1–5. Tony himself testified that Wames

neither asked him whether he was “the family contact or spokesperson,”

nor directed him to pass along information to Lisa and the other family

members. Id. at 148:11–149:1.

     Wames’s terse communications with Tony were plainly deficient in

all events. She conveyed to him almost nothing about the nature or

magnitude of the proceedings. Instead, she gave Tony “the impression”


                                      23
         Case: 22-2839   Document: 47   Page: 28   Date Filed: 08/21/2023




that Wharton “had won the right to an appeal”—not that the DA’s office

planned to concede that Wharton’s death sentences were invalid and

voluntarily forgo the opportunity to have a jury return the same sentence.

ECF 267, at 146:4–12. “She didn’t go into any detail.” Id. at 146:25. She

never told Tony that the family’s “input would make any difference” in

the DA’s office’s decision about how to proceed. Id. at 158:15–17.

     Tony only found out “what actually was happening”—that the DA’s

office was throwing in the towel—months later, when he spoke to the

Pennsylvania Attorney General’s Office. ECF 267, at 158:1. When he

did, he was stunned. That “the DA’s Office had decided to remove the

death sentences” was information he surely “would have communicated”

to the other family members had it been conveyed to him. Id. at 160:22–

161:5.

             2.    The victims’ family is adamantly opposed to the
                   DA’s office’s attempted concession.

     Contrary to the clear implication of the prosecutors’ statement, the

Hart family is united in adamantly opposing the concession and deeply

hurt by their callous treatment by the DA’s office.

     For Lisa, the “one highpoint in this entire situation” was when

“justice was served” and the jury handed down Wharton’s sentence.

                                        24
       Case: 22-2839   Document: 47   Page: 29   Date Filed: 08/21/2023




SA154. She views the DA’s office’s concession as an attempt “to undo”

that “justice.” SA154. Had the DA’s office informed Lisa about its plans,

she would have opposed any concession in no uncertain terms:

     Please don’t do this. I don’t in any way agree with the position
     that you’ve taken in this matter, and as a victim I feel like
     that should matter.

ECF 252, at 90:23–91:9. Instead, the message from the DA’s office was

clear: “[Y]ou don’t matter.” Id. at 90:3–14. The unexplained concession

was “an affront to justice”—it showed “a total disregard for the life of my

parents, my own life, and the impact that this would have on our family.”

SA154. That the DA’s office didn’t even bother to contact her left Lisa

“confused,” “hurt,” and “outraged.” ECF 252, at 90:7–11. And by the time

she found out about the concession, “it was as though, well, it’s already

done, and there’s nothing you can do about it.” Id. at 90:12–13.

     Patrice, too, “would have never, ever agreed” to the concession “and

never will”—through the jury’s verdict, “[j]ustice was served” and “justice

was confirmed.” SA157. But now the DA’s office “wanted to take . . .

away” that justice—regardless of “what the two juries very thoughtfully

decided.” ECF 252, at 134:3–9; 140:3–8.




                                      25
       Case: 22-2839    Document: 47   Page: 30   Date Filed: 08/21/2023




     That’s why Patrice found it “unbearably painful and shocking” to

learn about the concession months after it occurred. SA157. Freeing

Wharton of “the consequences of” his crime, after all, “would benefit him”

alone; it “wouldn’t benefit [Patrice’s] family,” “bring back [her] brother

and . . . sister-in-law,” or mitigate in any way “the experience that [Lisa]

has gone through.” ECF 252, at 134:15–135:5.

     Tony also opposes relief for Wharton. He believes the sentences

“should stand.” ECF 267, at 165:1. “[T]hat’s what the jury decided on,

and that’s justice”—“the DA’s office should defend the position that they

fought for in the first place.” Id. at 178:7–12. When Tony finally, “really

understood what was going on,” he was “taken [a]back” that the

prosecutors “would just let [the death sentences] slip away.”              Id. at

160:20; 161:9–15.

     The Hart family deserved much better. Federal law entitled them

to be “reasonably heard” and “treated with fairness and respect for [their]

dignity and privacy.”     18 U.S.C. § 3771(a)(4), (8). “To carry out this

obligation,” the district court “depend[ed] on truthful information from

the lawyers who practice before [it].” A42.




                                       26
       Case: 22-2839   Document: 47   Page: 31   Date Filed: 08/21/2023




     That is why the DA’s office’s half-truth was so damaging.            By

conveying that it had communicated with the family—without explaining

to whom those communications were made or what was said—the DA’s

office unmistakably “gave the impression that the Office had conferred

with the family before making the decision to concede and that the family

either agreed with the decision or did not object to it.” A65–66. Even the

DA’s office supervisor who signed the notice of concession conceded below

that the statement was “amenable to the interpretation that the victims’

family agreed with the concession of penalty phase relief.” ECF 287-1, at

4. In making this misleading statement, the DA’s office “impeded [the

district court’s] ability to ensure that the victims were provided their

statutory rights.” A68.

     Congress enacted the Crime Victims Rights Act because it found

that, in case after case, victims “were kept in the dark by prosecutors

to[o] busy to care . . . and by a court system that simply did not have a

place for them.” 150 Cong. Rec. at 7296 (Sen. Feinstein). Providing

incomplete and misleading information to one family member, failing

even to contact other victims—including a direct survivor of the crime—

and then misleading a district court into believing those victims


                                      27
       Case: 22-2839   Document: 47   Page: 32   Date Filed: 08/21/2023




supported a decision they weren’t even aware of and vehemently disagree

with is the polar opposite of treating victims “with fairness and with

respect.” 18 U.S.C. § 3771(a)(8).

     Upholding the modest sanctions imposed by the district court would

take an important step in fulfilling the Act’s purpose of “correct[ing] . . .

the legacy of the poor treatment of crime victims in the criminal process,”

150 Cong. Rec. at 7303 (Sen. Feinstein), and preventing them from being

“victimized a second time . . . by our criminal justice system.” Id. at 7298

(Sen. Kyl). While Lisa, Patrice, and Tony have bravely forged ahead

despite their suffering, the conduct of the DA’s office in this case has only

increased their suffering—essentially telling them “you don’t matter.”

ECF 252, at 90:3–14.

     Counteracting that false and degrading message is precisely why

state and federal victims’ rights statutes were adopted. The district

court’s recognition of the fundamental rights of Lisa, Patrice, and Tony—

and its modest efforts to protect those rights—is the least the justice

system can do.

                               CONCLUSION

     This Court should affirm the sanctions order.


                                      28
      Case: 22-2839   Document: 47   Page: 33    Date Filed: 08/21/2023




Dated: August 21, 2023                    Respectfully submitted,

                                           /s/ Allyson N. Ho
Paul G. Cassell                           Allyson N. Ho
UTAH APPELLATE PROJECT                    Bradley G. Hubbard
S.J. QUINNEY COLLEGE OF LAW               Matthew Scorcio
                            *
 AT THE UNIVERSITY OF UTAH                Stephen J. Hammer
383 South University Street               GIBSON, DUNN & CRUTCHER LLP
Salt Lake City, Utah 84112                2001 Ross Avenue, Suite 2100
Telephone: (801) 585-5202                 Dallas, Texas 75201
Facsimile: (801) 581-6897                 Telephone: (214) 698-3100
cassellp@law.utah.edu                     Facsimile: (214) 571-2900
                                          aho@gibsondunn.com
Meg Garvin                                bhubbard@gibsondunn.com
NATIONAL CRIME VICTIM                     mscorcio@gibsondunn.com
 LAW INSTITUTE                            shammer@gibsondunn.com
1130 SW Morrison Street,
  Suite 240                               M. Christian Talley
Portland, Oregon 97205                    Joshua R. Zuckerman
Telephone: (503) 768-6953                 GIBSON, DUNN & CRUTCHER LLP
garvin@lclark.edu                         1050 Connecticut Avenue, N.W.
                                          Washington, D.C. 20036
                                          Telephone: (202) 955-8500
                                          Facsimile: (202) 467-0539
                                          ctalley@gibsondunn.com
                                          jzuckerman@gibsondunn.com

                      COUNSEL FOR AMICI CURIAE




 *
  Institutional information provided only for identification purposes;
does not imply institutional endorsement.


                                     29
       Case: 22-2839     Document: 47   Page: 34   Date Filed: 08/21/2023




                         COMBINED CERTIFICATIONS

      Pursuant to Federal Rules of Appellate Procedure 29(a)(4)(G) and

32(g)(1) and Local Appellate Rules 28.3(d), 31.1(c), 32.1, 46.1(e), and

113.4, I certify that:

      1.    I am a member in good standing of the bar of this Court.

      2.    This brief complies with the type-volume limitation of Federal

Rule of Appellate Procedure 29(a)(5) because it contains 5,511 words,

excluding the parts of the brief exempted by Federal Rule of Appellate

Procedure 32(f).

      3.    This brief complies with the typeface and type-style

requirements of Federal Rules of Appellate Procedure 32(a)(5) and

32(a)(6) because it has been prepared in a proportionally spaced typeface

in 14-point New Century Schoolbook LT font using Microsoft Word for

Microsoft Office Professional Plus 2019.

      4.    The text of the electronic version of this brief filed with the

Court via CM/ECF is identical to the text of the paper copies.

      5.    The electronic version of this brief was scanned using the

virus-detection software CrowdStrike Falcon and no virus was detected.




                                        30
       Case: 22-2839   Document: 47   Page: 35     Date Filed: 08/21/2023




     6.    On August 21, 2023, I caused a copy of this brief to be filed via

the Court’s CM/ECF system and thus to be served on all parties’ counsel

registered to receive electronic notices.

                                             /s/ Allyson N. Ho
                                            Allyson N. Ho
                                            GIBSON, DUNN & CRUTCHER LLP
                                            2001 Ross Avenue, Suite 2100
                                            Dallas, Texas 75201
                                            Telephone: (214) 698-3100
                                            Facsimile: (214) 571-2900
                                            aho@gibsondunn.com

                                            Counsel for Amici Curiae




                                      31
